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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


SIGNODE INDUSTRIAL GROUP LLC,

           Plaintiff,

     v.
                                            Civil Action No. 2:24-cv-00080-JRG
SAMUEL, SON & CO., LTD. and SAMUEL, SON
& CO. (USA) INC. d/b/a SAMUEL PACKAGING
SYSTEMS GROUP and SAMUEL STRAPPING
SYSTEMS,

           Defendants.



DECLARATION OF GABRIELLA SALEK IN SUPPORT OF DEFENDANTS SAMUEL,
    SON & CO., LTD.’S AND SAMUEL, SON & CO. (USA) INC.’S MOTION TO
TRANSFER TO THE NORTHERN DISTRICT OF ILLINOIS PURSUANT TO 28 U.S.C.
                               § 1404(a)
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       I, Gabriella Salek, declare as follows:

       1.      I am an associate at the law firm of Foley & Lardner LLP and counsel of record for

Samuel, Son & Co., Ltd. and Samuel, Son & Co. (USA) Inc. (“Samuel”) in the above-captioned

case. I am submitting this declaration in support of Samuel’s Reply in Support of its Motion to

Transfer to the Northern District of Illinois Pursuant to 28 U.S.C. § 1404(a).

       2.      Attached as Exhibit 1 is a true and correct copy of Signode Industrial Group LLC’s

(“Signode”) Document Subpoena to DiMonte Group, Inc. (“DiMonte”), emailed to counsel for

Samuel on September 6, 2024, seeking documents relating to product features (see, e.g., topic #1).

And 173 documents DiMonte documents have already been produced in this case.

       3.      Attached as Exhibits 2 and 3 are true and correct copies from the Hilton website

and Google Maps, showing that a four-night stay for a single king bed nonsmoking room during

the second full week of December 2024 at the Hampton Inn located approximately 0.7 miles from

the N.D. Ill. courthouse costs $93 per night, and showing that the Hampton Inn located 4.2 miles

from the Eastern District of Texas courthouse costs $110 per night. Trial is currently scheduled to

begin the second full week of December 2025, but hotel rates are not yet available for that period,

so the same week of December 2024 was used as representative. These exhibits show that a

comparable room for the Hampton Inn in Chicago costs (including taxes) approximately 12% less

than the Hampton Inn in Marshall, and is over three miles closer to the N.D. Ill. federal courthouse.

       4.      Attached as Exhibits 4, 5, and 6 are true and correct copies of Google Maps,

showing that travel on a non-stop flight from Zurich, Switzerland to Chicago’s airport takes less

than 10 hours, with an additional 43 minutes of drive time to the N.D. Ill. courthouse. Travel from

Zurich, Switzerland to Dallas’ airport takes approximately 13 hours, with an additional drive time

of over 2.5 hours to the Eastern District of Texas courthouse. Travel from Zurich, Switzerland to



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the Shreveport, LA airport takes approximately 15 hours, with an additional drive time of 38

minutes to the Eastern District of Texas courthouse.

       5.      Attached as Exhibit 7 is a true and correct copy of a screenshot of a report from

Docket Navigator for the Northern District of Illinois, showing that for the pre-pandemic period

between 2015-2020, the average time-to-trial for patent cases was 37 months. Attached as Exhibits

8 and 9 are true and correct copies of the first General Order for the N.D. Ill. Court’s continuance

of civil jury trials dated March 12, 2020, stating that all civil jury trials scheduled to begin before

April 3, 2020 were continued, and the final – tenth amended General Order for the N.D. Ill. Court’s

suspension of civil jury trials dated February 12, 2021, stating that all civil jury trials would

continue to be suspended until April 5, 2021.




I declare under penalty of perjury that the foregoing is true and correct.


Executed on: September 18, 2024



                                                               /s/ Gabriella M. Salek
                                                               Gabriella M. Salek




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